Document Number Case Number
05-C-0180-C

United States District Court

Western District of Wisconsin

Theresa M. Owens

Case: 3:05-cv-00180-bbc Document #: 22-1 Filed: 02/07/06 Pa

Filed /Received
02/07/2006 03:09:22 PM CST

( UNITED STATES MEDICAL LICENSING EXAMINATION™ (USMLE™)
Office of Test Accommodations (215) 590-9509 JAN 1 3 2003

 

Questionnaire for USMLE Step 1 and 2 Applicants Requesting Test Accommodatf0seabilty Services

 

You must provide supporting documentation verifying your disability. The documeitation must,
be from a qualified professional. Mail your completed questionnaire and documentation to: .

Students / Graduates of US & Canadian Medical Schools
- Testing Coordinator, Office of Test Accommodations, National Board of Medical Examiners,
3750 Market Street, Philadelphia, PA 19104-3190. ae

Students / Graduates of Foreign Medical Schools
Test Accommodatioris Coordinator, Educational Commission for Foreign Medical Graduates .

3624 Market Street, Philadelphia, PA ‘19104 USA.

 

 

Please type or print.
Accommodations are requested for the following Step examination:

@ Step 1) Step 2) Year, 2003

 

( 2. Name SCHEIbE TRENTON TT
a Last First Middle Initial
So 3. Gender: * Female 4. Date of Birth 42479 (68
5. SS#3 97-88-7293 6. USMLE# 5-OS8-603./
(if known)

~

NS

7. Address YUS DONLEY oF

 

 

 

Street
Svb6FLLAWD 7X 2274
City State/Province Zip/Postal Code
USA (25) 3¢2-222>  /aventt bewt)
Country Daytime Telephone Number

8. Medical School dealvEeS/TY OF TEKAS — HOUSTON _pweticAL SCLOOL-

9. Nature of the Disability:
* Hearing Disability * Psychiatric Disability
* Learning Disability * Visual Disability

* Physical Disability * Other LEAs Pop hER (sot -n/ 3460)

10. In order to document your need for accommodation as completely as possible, please attach, in
addition to professional documentation, a personal statement describing your disability and its impact

f “ on your daily life and educational functioning. Do not confine your comments to standardized test
* performance; rather discuss your overall functioning.
- CONTINUED - 5/2000

Exhibit No. 1
Case: 3:05-cv-00180-bbc Document #: 22-1 Filed: 02/07/06 Page 2 of 32

11. How long ago was your disability first professionally diagnosed?

* less than | year * 2-4 years * 5 or more years

{2. What accommodation(s) are you requesting? Accommodation(s) must be appropriate to the
disability.

 

EXTERPED FEST 7IME

13. If you are requesting additional testing or break time, please indicate below (select one):

* time andahalf (¢ double testing time) * extra break time ° other

“14, Do you require wheelchair access at the examination facility?

* Yes

If you require an adjustable height table, please indicate the number of inches from

the floor__AV/A

15. Prior classroom or test accommodations that you have received:
A. Standardized Examinations
* Medical College Admission Test (MCAT) Month/Year

 

Accommodation received
( (If extra time, note amount given )

* Other Month/Year

 

Accommodation received

 

(If extra time, note amount given )

B. Medical School * No

Accommodation received —£0vBLE  FEST7W& FINE

Date approved 3for _—_____-

If yes, have an appropriate official at your medical school complete the enclosed certification form.

C. College * Yes «Na

If yes, accommodations received:

D. Secondary or elementary school * Yes

If yes, accommodations received:

 

 

16. Authorization:

If clarification or further information regarding the documentation provided is needed, I authorize the
NBME or ECFMG to contact the professional(s) who diagnosed the disability and/or those entities
which have provided me test accommodations. I authorize such professional(s) and entities to

( communicate with the NBME or ECFMG in this regard to provide NBME or ECFMG with such

clarification and/or er informati
Date epg

5/2000

   
 

Signa
 

 

 

Case: 3:05-cv-00180-bbc Document #: 22-1 Filed: 02/07/06 Page 3 of 32

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UNITED STATES MEDICAL LICENSING EXAMINATION™ (USMLE™)
Certification of Prior Test Accommodations JAN 1 3 2003
Office of Test Accommodations (215) 590-9509

To be completed by a medical school official responsible for student disability services. Disability Services

 

 

 

 

Please type or print.
Applicant Name: Trenton J. Scheibe
SM] °5 .058 .6 03.1
USMLE ID 2_- D2 2-2 Oe 2 , Professor of Pediatrics
1 I Margaret C. McNeese hold the position of Assoc. Dean of Student Affairs
Name Title
(2. Icertify that _UTHouston Med. School has officially approved and provided
Name of Institution
: - . -e h 2002
the following test accommodations for the above applicant beginning on Mare °
Date (Month/Year)

 

Accommodation(s) provided — Extended time.

 

 

Reason for provision of accommodation(s) DSM~-iV 315-0

Reading comprehension & speed.

Siguature. <2 EOE Date__/- @-<? >

(73 ) SOO SVG

Telephone Number

 

 

 

 

Students / Graduates of US & Canadian Med. Schools Students / Graduates of Foreign Medical Schools

Mail or fax* this form to: Mail or fax this form to:

Testing Coordinator, Office of Test Accommodations Test Accommodations Coordinator

National Board of Medical Examiners Educational Commission for Foreign Medical Graduates
3750 Market Street 3624 Market Street

Philadelphia, PA 19104-3190 Philadelphia, PA 19104 USA

Fax Number: (215) 590-9422 * (call to verify receipt) Fax Number: (215) 386-6327

Phone Number: (215) 590-9509 Phone Number: (215) 386-5900

 

3/2000

Exhibit No. 2
Case: 3:05-cv-00180-bbc Document #: 22-1 Filed: 02/07/06 Page 4 of 32

THe UNIVERSITY OF TEXAS RECEIVED
=| HOUSTON. JAN 1 8 2003

  
 

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Mental Sciences Institute
4 HEALTH SCIENCE CENTER Disability Services Depermen of Pechst
and Behavioral Sciences

PSYCHOLOGICAL ASSESSMENT LABORATORY

Psychological Assessment

. ‘\
Name: Trenton Scheibe Assessment: 09/21/01; 10/5/01
DOB: 12/19/68 — Ethnicity: Caucasian
Referral Source: Daniel Creson, M_LD., Ph.D. Medical Record #: 201-03-84

Examiner: Cynthia Gonzalez, M.A.

Referral Question: Mr. Scheibe was referred for neuropsychological testing by
Dr. Creson because of reading difficulties at U.T. Houston medical school.

Background Information: Mr. Scheibe is a thirty-two year old Caucasian male from central
Wisconsin. Mr. Scheibe reported he is a slow reader and has difficulty with timed exams. He
——~ is currently in his fourth year of medical school. However, he failed his third year board exam
- for internal medicine. According to Mr. Scheibe he failed the first board for the internal
* “medicine rotation and, after. a month of remediation classes, was administered the exam again.

Unfortunately Mr. Scheibe failed once more, by only two points. This resulted in the failure of
the entire rotation. ° OS

 

Mr. Scheibe reported that he passed the required board exams his during his first and second
years of medical school. He found these exams to be less difficult because they had fewer
clinical vignettes. In general, however, Mr. Scheibe reported that he does poorly on timed _
“standardized tests, especially those requiring much reading. For example, although his ACT
and SAT scores were not excellent, they Were good enough to get him into a university. On the
SAT, his verbal subtest score of 490 (55" %tile) was significantly lower than his mathematics
score of 620 (75" %etile). He reported similar test results for the LSAT, GMAT, and MCAT in
which scores were not excellent but good enough to get him into a program of study. Again, on
these standardized tests Mr. Scheibe’s verbal composite or subtest scores were significantly

lower than other test composite or subtest scores.

 

Mr. Scheibe attended public school in central Wisconsin and reportedly did very_well, His
grades were above average throughout high school and his undergraduate studies. Reading and
English weré challénging for him compared to other classes, however fie never received a grade
~~» Jower than an_Auntil. he.wentto college... He attended Marquette. University in.Milwaukee
Wisconsin. In 1991 he graduated with a Business degree in Accounting, obtaining GPA of
approximately, 3:5: After receiving his undergraduate degree Mr. Scheibe was admitted to law

( ~ gchool, and completed a year and a half at Marquette before transferring to The University of
ve Houston School of Law, completing his degree in 1994. He then worked for an accounting

Lo firm for three years and became cynical about the law. He decided that he wanted to help
people in another way: and, after rethinking his objectives in life, applied to medical school.

UT-Houston * 1300 Moursund » Houston, "Texas 77030 » (713) 500-2500 FAX (713) 500-2530
Located in the Texas Medical Center ,

Oo 1008 Pet Cormaren Yeeme

Exhibit No. 3
 

 

Case: 3:05-cv-00180-bbc Document #: 22-1 Filed: 02/07/06 Page 5 of 32

Psychological Assessment Page 2
Name: Trenton Scheibe

Medical Record #: 201-03-84

With regards to medical history, Mr. Scheibe reported that when he experiences severe pain or
stress his blood pressures drops and heart rate slows causing him to pass out. This has occurred
a few times and he remembers specific occurrences at the age of twelVeyears of age and during
his undergraduate studies. He recalled that he passed out when he was an undergraduate and
was told that he had suffered a seizure. No other major illnesses or medical conditions were

ver ae

reported, and there is no history of developmental delays or complication during pregnancy or
delivery.

Mr. Scheibe indicated a family history of learning disabilities and ADHD. He reported his
brother was diagnosed with ADHD when he was young. Mr. Scheibe’s family lives in
Wisconsin and he gets alorig Well with all family members. He is the only one in his family to
finish college. He is currently single and has never been married. There is no reported history
of alcohol or drug abuse, either in this individual or his family.

Behavioral Observations: Mr. Scheibe arrived for testing on time and dressed casually and
appropriately. Rapport was easily established and he appeared to put forth good effort on tasks
presented to him. He was cooperative throughout testing, which was completed in two
sessions. These results are thought to accurately represent his current level of functioning.

Tests Administered:

Wechsler Adult Intelligence-Third Edition

Woodcock Johnson-III Test of Achievement

California Verbal Learning Test

Wechsler Memory Scale-Revised: Logical Memory and Visual Reproduction
Nelson-Denny Reading Test .

Wisconsin Card Sorting Test

Personality Assessment Inventory

Raw and standard scores for all tests are included as an addendum to this report.

RESULTS

Intellectual: On the WAIS-II, Mr. Scheibe obtained a Verbal IQ of 113 (High Average Range,
81" %tile), a Performance IQ of 124 (Superior Range, 95" %tile), and a Full Scale 1Q of 119
(High Average Range, 90" %tile). The difference between Verbal and Performance IQs is
significant at the .05 level, although it occurs in 32% of the general population. The difference
is in the direction in which Mr. Scheibe reports difficulty, with non-verbally based skills better
than verbally based skills. His index scores were 114 (High Average Range, 83™ %tile) on
Verbal Comprehension, 125 (Superior Range, 96" %tilé) on Perceptual Organization, 125

"(Superior Range, 96” %tile) on Processing Speed, and 119 (High Average Range, 90", %tile)

on Working Memory. These scores indicate superior abilities in processing and organizing
perceptual information, and performing mental operations quickly. On the Verbal Scale he
demonstrated a relative weakness in immediate auditory attention. However, his performance
 

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Case: 3:05-cv-00180-bbc Document #: 22-1 Filed: 02/07/06 Page 6 of 32

Psychological Assessment Page 3
Name: Trenton Scheibe

Medical Record #: 201-03-84

on a more complex Wechsler task which measures similar cognitive functions was in the Very

Superior Range-(Letter-number sequencing). This suggests that Mr. Scheibe may perform

better when he is challenged.

Memory: Memory for prose passages was in the Average Range both immediately following
presentation and after a 30-minute delay. Scores ona rote verbal memory test, which involves
rehearsal, ranged from the Ayerage to the High Average. His learning curve was High Average
and consistent with his Verbal 1Q. His recall and recognition of the test material followitig y
20-minute delay were perfect. This pattern suggests that Mr. Scheibe has more difficulty with
material presented in context than with rote memorization. Although contextual memory may
improve with rehearsal, his memory for the first presentation of the rote word list was still a
standard deviation above that for the prose passage. This pattern is consistent with the patient’s
report of difficulty with long complicated reading passages, such as medical vignettes..

Memory for visually presented geometric figures was in the | Very Superior Range both
immediately and following a 30-minute delay. Again, this is consistent with his reported and
measured pattern of non-verbal skills being significantly better than verbal skills.

Executive: On the Wisconsin Card Sorting Test Mr. Scheibe’s ability to utilize feedback to
form and test hypotheses was excellent and consistent. with his Performance IQ.

Academic: Mr. Scheibe was administered the Woodcock Johnson Test of Academic
Achievement. On this test Mr. Scheibe’s scores on subtests which required oral language and
basic reading skills were significantly lower than on his other scores on subtests that required
non-verbally based analytic skills or mathematical abilities. For example, Mr. Scheibe’s
standard scores in Basic Reading and Oral Language were in the Average Range, whereas his
Broad Math standard score was in the Superior Range, differing by more than a standard
deviation. In addition, his Basic Reading and Oral Language scores are more than a standard
deviation below Mr. Scheibe’s Full Scale 1Q. Specifically, Mr. Scheibe demonstrated a
weakness in phonemic (speech sound) perception and generalization, as well as recognizing
and utilizing common orthographic patterns (frequently occurring letter clusters). This was

 

- especially apparent when it pertained to phonemic decoding in reading. The above described

patterns of 1) discrepancy between reading and language scores and measured cognitive ability,
2) a split between reading achievement scores and achievement scores in mathematics, and

/ 3) weakness in the reading decoding, are often seen in individuals with a verbal learning

cognitive abilities, similar to those exhibited by Mr. Scheibe, as the diagnostic criteria for

disability. In fact, schools often use discrepancies between achievement and measured °
learning disability in individuals with above average intelligence.

Mr. Scheibe was also administered the Nelson Denny test of reading ability. This test was

chosen for two reasons. One is that it has normative data for individuals with Mr, Scheibe’s
educational level, and secondly, the Nelson.Denny has a measure of reading rate that is can also

“be compared to highly educated individuals. Because reduced processing speed is often the

only residual of a reading disability in adults, a measure of this individual’s reading speed was —
crucial. On this task his vocabulary score was in the High Average Range, his Comprehension
 

 

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Case: 3:05-cv-00180-bbc Document #: 22-1 Filed: 02/07/06 Page 7 of 32

Psychological Assessment Page 4
Name: Trenton Scheibe

Medical Record #: 201-03-84

score, however, was in the Average Range, and his Reading speed score was in the Low
Average Range. The pattern suggests Mr. Scheibe was reading very slowly given his general
abilities, and as a result, had some difficulty answering questions about the material read in a
timed format. Given Mr. Scheibe’s intellectual ability, scores such as these usually represent a

reading disability.

Personality/Adjustment: Mr. Scheibe was administered the Personality Assessment Inventory
and the profile obtained was valid. The clinical profile reveals no elevations, which should be

considered to indicate the presence of clinical psychopathology.

SUMMARY: Mr. Scheibe is a very intelligent man whose testing profile suggests he is
significantly better at processing visual material and mathematical concepts than he is at
processing verbal material. This pattern of discrepancy runs throughout the testing profile. For
example, although rote verbal memory is at expectation, Mr. Scheibe shows a weakness in —
contextual memory for verbal information when compared.to-his me for visually
presented material. On academic testing Mr. Scheibe did.relatively poorlyvon tests of reading
and oral language skills, when compared to his concrete and ‘abstract mathematic abilities and
his non-verbal analytic abilities. He had particular difficulty with phonemic perception and
decoding. In addition, he has a history of discrepancy between verbal and mathematical scores
on standardized timed tests. This pattern on neuropsychological and academic testing is typical
of adults with reading disorders. Given the above testing, Mr. Scheibe meets the DSM-IV
criteria for reading disorder of “A. Reading Achievement as measured by individually
administered standardized tests of reading accuracy or comprehension, substantially below that
expected given the person’s chronological age, measured intelligence, and age-appropriate
education”, and “B. The disturbance in Criterion A significantly interferes with academic
achievement or activities of daily living that require reading skills’ (DSM-IV diagnostic code

315.0).
Recommendations:

1. Mr. Scheibe should be allowed extended testing time when taking timed written tests.

2. Mr. Scheibe will probably have to work harder to remember details learned in class
especially if material is presented orally. Careful note taking. will be critical, and it may
be helpful for him to compare his notes to those of his peers. Review of formal written
sources should compensate for weakness in oral language processing.

David Lachar, Ph.D.
Professor ~
Licensed Psychologist
Case: 3:05-cv-00180-bbc Document #: 22-1 Filed: 02/07/06 Page 8 of 32

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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‘ COGNITIVE SUMMARY SHEET - ADULT
Name: Trenton Scheibe Date: 09/21/01; 10/5/01
Age: 32 Med. Rec, #: 201-03-84
Referral: Daniel Creson, M.D., Ph.D. Examiner: Cynthia Gonzalez, M.A.
Intellectual Memory
WAIS IIT RS AcSsSs { WMS-R RS : ss
Vocabulary 49 12 LM I 30 109
Similarities 28 13 LM II 26 107
Arithmetic 17 12 VR I 34 126
... Digit Span 17 10 VR II 40 133
Information 21 13 y  cvLT
Comprehen. 27 13 A 1-5 65 117
Let-num Seq. 18 . 18 1 10 115
Pic. Comp. 24 15 5 15 115
Dig. Sim-Cod 99 14 B 8 100
Block Design 45 11 A SD/FR 16 130
Matrix Rea. 24 , 16 SD/CR 15 115
Picture Arr. 17 11 LD/FR 16 115
Symbol Srch 47 15 LD/CR 16° 115
Object Ass Disc. 100 100
viIQ . i Other:
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PPVT-R RS ss TMT A
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/ west
Motor — 7 se — ~~ Cats. 6 106
Pers. Errors 6 108
G&G. Pegs RS ss % Pers. 8.5 105
Dom. | FTMS 0 109
N. Dom. Stroop
Tapping c
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N. Dom. Cc-W
Grip Inter.
Dom. PASAT
N. Dom. 1
2
Visual/Constructional 3
4
Beery VMI
VED Academic
Hooper
JLO WRAT III
Reading
Language . Spelling
. | Arithmetic
COWA | Nelson/Denny
Boston Nam. Vocabulary 74 115
( Token Test Comprehen. 54. 94
Spch Sds Per Read Rate 185 88

 

 

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"Nae

Other

 

 
 

 

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Case: 3:05-cv-00180-bbc Document #: 22-1 Filed: 02/07/06 Page 9 of 32

Academic
WJ-IIT

L-W Ident.
Pass. Comp.
Cale.

App. Problem
Writing Samp
Story Recall
Story R.Dela
Under. Dir.
Read. Fluen.
Spelling
Word Attack
Editing

Spell. Sound
Oral lang.
Broad Math
Writ. Expr.
Broad Write
Broad Read
Basic Read
Acad. skill
Acad. Apps.
Phon/Graph

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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97 8.6
116 >18.0
.102 15.6
101 11.8
125 >18.0
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123 >18.0
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Case: 3:05-cv-00180-bbc Document #: 22-1 Filed: 02/07/06 Page 10 of 32

py
National Board of Medical Examiners®

3750 MARKET STREET, PHILADELPHIA, PA 19104
TELEPHONE (215) 590-9500

  

-Confidential-

January 14, 2003

Trenton Scheibe
4715 Dunleigh Ct.
Sugarland, TX 77479

RE: USMLE STEP 1 - 2003 and USMLE STEP 2 - 2003
USMLE ID #: 5-058-603-1

Dear Mr. Scheibe:

We have received your request for test accommodations for USMLE STEP 1 - 2003 and
USMLE STEP 2 - 2003:

Once our Registration Department verifies receipt of your application, we will begin to process
your request. At that time, we will review the documentation received with your request and will
contact you if any additional information is necessary. When the review is complete, we will

_ advise you in writing of the decision.

 

To protect your confidentiality, we do not provide information concerning the decision by |
telephone. However, if you have any other questions, you may call Disability Services at
(215) 590-9869 or (215) 590-9549. ,

Singerely, .

Shelby R. Keiser
Manager, Disability Services

SRK/CM

Lf
&.,

Exhibit No. 4
 

Case: 3:05-cv-00180-bbc Document #:

82/84/2063 16:05 718-998-5926

22-1 Filed: 02/07/06 Page 11 of 32

SCHOOL PSYCHOLOGY : PAGE 41

RECEIVED
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National Board of Medical Examiners
Consultant Review Form

Consultant: Satme) O. Ortiz, PhD.
Duc Date; 04-Feb-2003

Disability Services
Case Review Hours _ 3.0.
Conference Hours

eel

 

 

Examinee.  Scheibe, Trenton J.
JD Nomber: 5-053-603-1

(Cl Diagnosis is snpported by documentation

(J Accomanodstion is supported and justified.

USMLE STEP 2- 2003

$8 Diagnosis is NOT supported by
dncimentation. ‘

§¢ Accommodation is NOT sapported and
«antified

 

Comments:

 

 

Please fax fo ti NBME Office of Test Accommodations at
(215) 590-9422 by the Due Date shonwn above,

Exhibit No. 5
Case: 3:05-cv-00180-bbc Document #: 22-1 Filed: 02/07/06 Page 12 of 32
82/84/2083 16:85 718-998-5926 SCHODL PSYCHOLOGY PAGE a2

Date: 4 February 2003

 

To: Shetby Keiser
From: Samuel O. Ortiz

Re: Consultation Evaluation

This review concerns Trenton Scheibe, a medical student, who is requesting,
accommodations on Step 2 of the USMLE due to a learning disability (‘Reading Disorder”).
Mr. Wilson’s specific request for accommodation is for extended time (doubic) in which to take
the exam. Documentation provided in support of this request consists of a letter of application, 8
copy of'a psychological evaluation conducted September-October, 2001 by Cynthia Gonzalez,
M.A. and countersigned by David Lachar, Ph.D., and certification of prior accommodations from
his medical schaol. No personal statement was included.

The claim for learning disability by Mr. Scheibe rests entirely upon the diagnosis
rendered by Ms. Gonzalez end Dr. Lachat in their report of evaluation. Their claim is that there
is sufficient evidence bo support a diagnosis of reading disorder according to the criteria specified
by DSM-IV under section 315.0, Even a cursory review of the data upon which these individuals
based their opinion clearly indicates a substantial lack of understanding regarding the nature,
evaluation, and identification of learning disability, significant and unsupportable conceptual

- errors jn. dats intespretation, and evidence for confirmatory bias. Some of the more egregious
( errors contained ii the report are described below.

 

It is stated that “the disturbance in Criterion A significantly interferes with academic
achievement or activities of daily living that require reading skills.” Yet, an examination of all of
the individual’s scores on the achievement tests administered to Mr. Scheibe reveal that nota.
single score falls outside the normal or average range of functioning compared to other people of
ihe same age in the general population. Indeed, his lowest score was on the Nelson-Denny
reading rate where he obtained a standard score of 88 (21" percentile rank). Given that the
Nelson-Denny is at best, a screening instrument not & diagnostic test (because of its inherent
unreliability, coefficient = .68), a score of 88 is hardly noteworthy, let alone indicative of any
type of significant interference with reading. Moreover, Mr. Schiebe’s other scores, including
those for all areas related to reading, ranged from a “low” 97 (48" percentile rank) to a high of
129 (97 percentilé rank). This indicates functioning that is at the very least “average” to well
above average and occasionally superior. There is simply no reasonable way that it could be
construed that there is evidence of a significant interference with academic achievement or
activities of daily living that require reading, ekills. Indeed, the report is clear in that Mr.
Scheibe’s difficulties are quite narrowly defined in that he “has difficulty with tied exams” and
“he does poorly on timed standardized tests.” Learning disabilities, by definition are not:
constrained to limited, unique, or such idiosynotatic situational problems. ~~ o

The report repeatedly ignores one of the components underlying all Learning Disorders
as defined in DSM-IV which is that they are disorders or learning usually first diagnosed in

 
Case: 3:05-cv-00180-bbc Document #: 22-1 Filed: 02/07/06 Page 13 of 32
82/84/2803 16:85 718-998-5926 SCHOOL PSYCHOLOGY PAGE 83

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ildhood, or adolescence. It is also noted that “Learning Disorders may persist into
od =: toa that learning problems have an identifiable pattern beginning in
childhood and often still evident in adulthood. Yet, the report notes that although Mr. Scheibe’s
“ACT and SAT scores were not excellent, they were good enough to get him into a utliversity.”
Moreaves, he obtained scores an the LSAT that “were not excellent but good enough to pet him
into a program of study.” Clearly, without even the benefit of any accommodations, Mr. i
was not only successful on tests that require significant reading and other abilities by any
measure, but pethaps he was even more successful than the average person who generally does
not get into college, ler alone graduate school, aud Jater on medical school. Even in his formative
years, the time period where learning problems in reading should have been most evident, it is
noted that he had “no history of developmental delays” and clearly stated that “his grades were
well above average throughout high schoo! and his undergraduate studies.” It is also noted that
reading and English were “challenging” for him, yet “he never received a grade lower than an A
until he went to college.” This is evidence of academic functioning of the highest order and in no
way is consistent with the basic nature of what constitutes a learning disorder, particularly a8
defined by DSM-IV.

  

although it ocours in 32% of the general population.” Rather than dismissing the discreparicy as
commonplace (after all, it occurs in nearly lout of every 3 people), it is presented as suggestive
ofa learning problem, partioulatly in reading or other verbal skills, The real conceptual error in
the use of discrepancy can be seen in the statement that “his Basic Reading and Oral Language
scores are more than a standard deviation below Mr. Scheibe’s Full Scale 1Q.” This statement
fails to account for the fact that Full Scale IQ is not perfectly correlated with any type of
achievement. If it were, they would be the same thing and only in need of measurement once. It
is in fact unreasonable to expect that IQ should accurately predict achievement because it
accounts for no more than 25-35% of the total variance, st best. It cannot, therefore, be used as
the “standard” by which to evaluate other test scares. Schools may indeed continue to rely on
such discrepancy analysis but only because it’s sutrently encoded into Jaw. The fact remains that
the practice has been thoroughly discredited in the literature and that its use as an indicator of
learning disability wholly unwarranted.

 

 

There is a tendency to look at “relative” differences rather than normative differences
which leads to numerous interpretive errors, For example, it is stated that Mr. Scheibe ~
edemonsitaed a rélative weakness in immediate auditory attention.” This claim is based on a
scaled score of 10 for Digit Span (50™ percentile rank). Not oaly does Digit Span not measure
auditory aitention, it is also well within the average range. To call it a weakness, even 4
“relative” weakness simply because it is lower than some of his other abilities is wrong. From 4.
normative perspective, being at the exact middle of the average range simply cannot be
construed as a weakness or dysfunction of any kind. Such a characterization is counter to the
very definition of average or normal, In addition, there js no scientific reason why an
‘ndividual’s abilities should all be equally well developed. Rather, the data indicate that 97% of
the general population has some type of difference between one ability and another. It is the rare

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Case: 3:05-cv-00180-bbc Document #: 22-1 Filed: 02/07/06 Page 14 of 32
62/04/2003 16:85 718-998-5926 SCHOOL PSYCHOLOGY PAGE #4

exception who has evenly developed abilities, Such “scatter” and differences, even significant
differences in abilities, is the norm, not the exception and-not suggestive of dysfunction. And
finally, interpretation of single subtests is psychometrically indefensible. It was noted in the
report that on another measure of short-term memory (what Digit Span actually measures), Mr.
Scheibe performed within the “Very Superior Range.” Rather than concluding that this ability
shows no evidence of impairment, the report contiues to suggest that this is an abnormality,
which it is not.

Another type of discrepancy highlighted in the report involves comparisons between
academic abilities. It was reparted that Mr, Schiebe’s scores on oral language and basic reading
skills were Jower than his scores on math tests. Again, thee is a tendency to view this as
abnormal when in fact, it is quite normal that an individual may be better at math than at reading.
We often call these people mathematicians, not learning disabled.

 

The report seems to imply that he read “very slowly” because his general abilities were
higher. It should be noted that his reading rate score of 88 (2.1 percentile rank) places Mr.
Scheibe squarely within the ayerage range. There is no reason to believe or expect that his
reading rate should be equivalent to, let alone commensurate with his “general abilities.”
Nonetheless, such performance is well within the average range and does not imply dysfunction
of any kind. Moreover, if reading, speed were indeed a problem for Mr. Scheibe, it would most
likely be reflected in tests of cognitive processing speed. Yet, his Processing Speed Index from
the WAIS-JIL, a reliable indicator of processing speed, was 119 (90" percentile rank) and in the
igh average range of functioning. According to the report, this indicates “superior abilities in
processing and organizing perceptual information, and performing mental operations quickly.” If
( Mr. Scheibe is indeed a slow reader, it is apparently due to factors other than his underlying
cognitive skills and most assuredly not the result of any type of learning disability.

 

Although Mr. Scheibe states that he is a very slow reader, the data suggest that his ability
to On page three of the report, there are three patterns put forth as evidence of a learning
disability. The first relates to the discrepancy between reading and language scores and measnred

\ cognitive ability. [have already discussed the error in this reasoning above. The second pattern
_. concerns the split between reading achievement scores and achievement scores in mathematics. I
“have Jikewise addressed the fallacy of such statements in the preceding paragraphs. The third
involves weakness in reading decoding which is tied to possible “verbal learning
disability.” Yet, the “weakness” that is being referenced involves. standard scores of no less than
97 (48" percentile rank). Performance that is as good or better than nearly half of all people in
the general population seems a peor foundation for describing it as a “weakness.” Clearly, the
three pattems put forth in the report as suggestive of learning disability are nothing more than
s errors in logis, i erpretation, and oonceptualization. The only reasonable conclusion that can be
drawn from these data paitems is that Mr: Scheitie is a competent, normal, average reader with
_abilities that range from average to high average and occasionally superior, =
In sum, the interpretations offered in the report are rather piecemeal, linear, unsystematic,
and based on a host of errors in conceptual logic and procedural validity. When viewed from a
holistic perspective there are several important findings that are evident in the submitted
documentation: a) no evidence of any type of cognitive impairment or dysfunction of any kind is
Case: 3:05-cv-00180-bbc Document #: 22-1 Filed: 02/07/06 Page 15 of 32
82/04/2083 16:85 718-998-5926 SCHOOL PSYCHOLOGY PAGE @5

seen in any of the data contained in. the evaluation; b) no evidence of any type of impairment or
dysfunction in academic skills ot knowledge is found in the data contained in the evaluation, c)
there is no clear or documented history of difficulties in the development and acquisition of
academic skills in the formative and even Jater years of schooling, d) there is a consistent and
impressive record of academic aohievement and school-related success including performance on
timed tests unvolving reading (e.g., SAT, MCAT, LSAT) even without the benefit of any type of
accommodation; and e) there is no indication in the submitted documentation that Mr. Scheibe

~ has any impairment or dysfunction (significant, mild, or otherwise) that affects his ability to
adequately and successfully complete any daily activities that may involve reading.

 

All of Mr. Schiebe’s scores (both cognitive and academic) are well ‘within norma! limits
and the fact that some of his abilities are very well developed while one of them is “merely”
average does not support a diagnosis of learning disability. In the final analysis, the most
reasonable conclusion that can be made from the available data and documentation is that Mr.
Scheibe is a competent and capable Jeammer who is currently petforming in a manner that is
cornparable to and sometimes better than that of bis same age peers in the general population.
There is simply no evidence here that his recent (within the last two years) and apparently unique
and specific inability to do well on standardized tests under timed conditions is something that
could be reasonably constmed as a disability. Ut is more likely that other factors are responsible
for his apparent problems in this very ci ibed area of functioning.

Therefore, based on the data available in this case, 1 am of the opinion that a diagnosis of
learning disability cannot be supported. There is no evidence of intrinsic cognitive dysfunction
and no evidence of any type of academic dysfimction. At times and under certain circumstances

{ Mr, Scheibe may read slowly, but he is vot an impaired reader. As such, in the absence of any
os additional evidence or data to support his claim, it is my opinion that Mr. Schiebe’s request for
accommodations are not justified aud should therefore be denied.

 
 

 

 

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Case: 3:05-cv-00180-bbc Document #: 22-1 Filed: 02/07/06 Page 16 of 32

National Board of Medical Examiners°®

3750 MARKET STREET, PHILADELPHIA, PA 19104
TELEPHONE (215) 590-9500

Tel. (215) 590-9869 / Fax (215) 590-9422

CONFIDENTIAL

 

March 24, 2003

Trenton Scheibe
4715 Dunleigh Ct.
Sugarland, TX 77479

RE: USMLE STEP 1 - 2003
USMLE STEP 2 - 2003

USMLE ID #: 5-058-603-1
Dear Mr. Scheibe:

We have carefully reviewed your request for test accommodations for the USMLE STEP 1 -
2003 and USMLE STEP 2 - 2003, and accompanying material in accordance with USMLE
guidelines for examinees with disabilities and within the framework of the Americans with
Disabilities Act (ADA). We consulted an impartial expert in the field of learning disabilities to
assist us in reviewing the documentation.

Your evaluators, Ms. Cynthia Gonzalez and Dr. David Lachar, assign you a diagnosis of Reading
Disorder according to your 2001 evaluation. Dr. Lachar appears to base this diagnosis on a
discrepancy between your average scores in Basic Reading and Oral Language and your superior
range scores in Broad Math on the Woodcock-Johnson, Revised (WJ-R). However, analysis of
the data provided in Dr. Lachar’s report indicate that your performance on the WJ-R fall in the
average to superior range. Similarly, your performance on the Wechsler Adult Intelligence Scale-
Third Edition (WAIS-IID) falls within the average to superior range. While relative differences
may exist in your scores, they are well within the range of average functioning and do not rise to
the level of a substantial impairment. Indeed, our consultant point,outg that most people do not
have evenly developed abilities and that the presence of variability among scores does not in
itself indicate a disability. -

Currently validated theories and research do not support using a discrepancy model as the sole
basis of a diagnosis or rationale for accommodations. Professionally recognized diagnostic
standards for a learning disability presume the existence of an underlying central nervous system
dysfunction which is reflected in normative deficits in cognitive functioning and in related areas
of academic functioning. The clinical data presented in your documentation do not demonstrate
cognitive or academic deficits that substantially impair your ability to read and learn. Instead,
your documentation indicates your performance on a range of cognitive and academic tasks is in
the range of average to well above average.

Exhibit No. 6
Case: 3:05-cv-00180-bbc Document #: 22-1 Filed: 02/07/06 Page 17 of 32

Trenton Scheibe
Page 2

 

Learning difficulties of sufficient severity to substantially compromise reading and learning are

_ generally recognized as being developmental in nature. Consequently, it is expected that chronic
and pervasive difficulties with learning will emerge during childhood. Individuals with learning
disabilities typically present a long history of academic difficulties and poor achievement dating
back to elementary school. Additionally, the DSM-IV diagnostic criteria include the requirement
that the disturbance “significantly interfere with academic achievement.” While your
documentation states that you are a slow reader and have difficulty with timed exams, you have
not provided any original school records verifying childhood learning problems and
accommodations for classroom instruction or on typical standardized achievement tests or other
standardized examinations. Additionally, you have not submitted a personal statement
describing your academic performance difficulties and your documentation does not provide an
objective description of any current academic and functional problems that would rise to the
level of a disability and substantially limit your access to USMLE.

The Americans with Disabilities Act covers individuals who have established the existence of a
substantial impairment in one or more major life activities as the result of a disability.

_ Accommodations are intended to provide equal access to the USMLE testing program for
individuals who are covered under the ADA. It would be contrary to the concept of fair and
equal access embodied in the Americans with Disabilities Act to provide you with test
accommodations since the information you provided does not demonstrate that you have a

os diagnosed disability that substantially impairs your ability to read and learn. Therefore, after a

Sete careful review of all of your documentation, I must inform you that we are unable to provide you

with the requested accommodations.

 

We will advise Registration to process your exam application without test accommodations.
You may inquire at usmlereg@nbme.org or call the Registration Department directly at

215-590-9700 with any questions about your scheduling permit.
Sincerely, .
a, Ye Ly,

Carol Morrison Featherman, Ph.D
Assistant Vice President, Examinee Support Services

CMF/sc
Case: 3:05-cv-00180-bbc Document #: 22-1 Filed: 02/07/06 Page 18 of 32

UNITED STATES MEDICAL LICENSING EXAMINATION™ (USMLE™)

 

Step 1 and Step 2 Clinical Knowledge RECEIVED
Applicant’s Request for Test Accommodations 0 CT 9 5 2
4

 

 

 

 

 

 

5 please contact Disability Services at 215-590-9859.

 

Please type or print.
Accommodations are requested for the following Step exammation (Use a separate form for each exam):
CO step 1 QD step 2 Clinical Knowledge Step 2 Clinical Skills Year:__2007

Section A: Biographical Information

LName_ SCHEINE TREV TON tT
Last First Middle Initial

2. Gender: ais) Female
3. Date of Binh: _/2-// 9/6

we

 

 

4. sse3 7 7-86-7273 5. USMLE# S-OS9.68 3-/
Gfknown)
6. Address: (S29 A PEACH AWE.
Street >
MNAREUELTELP wr SY9S¢9
City State/Province Zip/Postal Code

Uni téP STATES

Country
WS - SF P- 2227
Daytime Telephone Number

Alternate Telephone Number

 

 

E-mail address _
Ere at shes be @ Loo fans. tae

7. Medical School: (17 we SITY OF  TEX4$— /fovs7orn/

(Over)

Exhibit No. 7
Case: 3:05-cv-00180-bbc Document #: 22-1 Filed: 02/07/06 Page 19 of 32

( Section B: Nature of Disability

 

8. Indicate the nature of the disability and the year it was first professionally diagnosed (select all that apply):

Sensory Impainnents:
CO rearing Disability ——- CD visual Disability
(A reading Disability Dol CI writing Disability
(CD Mathematics Disability CJ other:
Language Impairments:
CI Receptive Language C) expressive Language
Disorder Disorder
(CL) Mixed Receptive/Expressive
Medical Tnopairments:
(C2 Mobitity/Motor CI Diabetes/Thyroid
, Dysfinction
(CD Epitepsy/Neurological CD offer:
(CD Anxiety Disorder C2 Mood Disordes/
Depression
CI} Attention Deficit
Hyperactivity Disorder _ CD other: ee

Section C: Accommodations Information
10. What accommodation(s) are you requesting? Accommodation(s) must be appropriate to the disability-
AUT at (COSTING  Jimok ~ fovBek Tree

 

 

iL Ifyou are requesting additional testing or break time, please indicate the amount of time requested (circle no more than

one per Step).

STEP 1:

C2 Additional Break Time over 1 day CD Additional Break Time over 2 days

CD Additional Testing Time — Time and one-half CD Additional Testing Time — Double Time |
CY other (please specify):

 

(Continued on the next page)

rN,

2
Case: 3:05-cv-00180-bbc Document #: 22-1 Filed: 02/07/06 Page 20 of 32

STEP 2:

(C) Additional Break Time over 2 days. (CD Additional Testing Time —Time and one-half
Additional Testing Time — Double Time
Other (please specify):

12. Do you require wheelchair access at the examination facility?
Dye Bao
If you require an adjustable height table, please indicate the number of inches from the floor:
Section D: Accommodation History
13. Prior classroom or test accommodations that you have received:

 

 

A. Standardized Examinations CD yes Ef no
Medical College Admission Test (MCAT):
Month/Year

 

( (@f extra time, note amount given )
Month/Year
Accommodation received

 

 

(if extra time, note amount piven )
B. Medical School EF yes C} no
Accommodation received PUY SLE TE87¢7we Tere
Date Approved “142274 2.002. .
Hyes, have an appropriate official at your medical school complete the Certification of Prior Test

 

Accommodations form.
C. College CD yes Jd no
If yes, accommodations received
D. Secondary or elementary school C) yes Wo
If yes, accommodations received

 

(Over)
 

 

 

Case: 3:05-cv-00180-bbc Document #: 22-1 Filed: 02/07/06 Page 21 of 32

14. Authorization:

1 authorize the National Board of Medical Examiners (NBME) to contact the entities identified in Section D of this request
entation Yam submitting in connection with it, to obtain any or all of the
ex information. 1 authorize such entities and professionals to provide

ion and er information.

Date: oli WL

   
 

 

   

 

‘Please keep a copy of your completed request form for your records.

 

 
 

 

 

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Case: 3:05-cv-00180-bbc Document #: 22-1 Filed: 02/07/06 Page 22 of 32

MARSHFIELD CLINIC/SAINT JOSEPH'S HOSPITAL
COMBINED MEDICAL RECORD
MARSHFIELD, WISCONSIN 54449

MHN: 264213 Facility: Marshfield Center
Patient: Trenton James Scheibe Printed: 10/04/04
Gender: Male _ Birthdate: 12/19/1968 At: 08:09

Clinic Correspondence (History)
Service: 08/13/2004 _

Fred W Theye PHD * COPY *
RECEIVED

August 25, 2004
OCT 25 2004

Mr. Trenton James Scheibe
1529 N Peach Ave Disability Services
Marshfield, WI 54449

Clinic Chart #264213

Dear Mr. Scheibe:

Thank you for allowing me to participate in your care.
Please find enclosed a copy of your Neuropsychology Report.

If you have any questions concerning the report, please feel
free to contact me at the Clinic.

Sincerely yours, |

Fred W. Theye, Ph.D., ABPP/CN
Neuroscience Department of Marshfield Clinic

FWI:rs
Enclosure

Electronically signed by Fred W Theye PHD on 09/17/2004.

Exhibit No. 8
 

 

Case: 3:05-cv-00180-bbc Document #: 22-1 Filed: 02/07/06 Page 23 of 32

MARSHFIELD CLINIC/SAINT JOSEPH'S HOSPITAL
COMBINED MEDICAL RECORD
MARSHFIELD, WISCONSIN 54449

MHN: 264213 Facility: Marshfield Center

Patient: Trenton James Scheibe Printed: 10/04/04
Gender: Male __ Birthdate: 12/19/1968 At: 08:09
Clinic Office Note

Service: 08/13/2004

Fred W Theye PHD * COPY *

This 35-year-old physician was self~-referred to evaluate his
difficulty with the USMLE (United States Medical Licensing
Examination). It is his report that with the recent change to test
being administered on computer, and the increasing length of the
examination, he is not able to successfully complete the examination
in the allotted time because of a previously diagnosed reading
disorder.

The patient provided considerable collateral history. Two of these
items are of significant interest:

- An assessment by the University of Texas Health Science
Center in the fall of 2001. He was evaluated carefully by David
Lachar, Ph.D., and felt to demonstrate clear evidence of a reading
disorder in accordance with DSM-IV diagnostic code of 315.0. In his
summary, Dr. Lachar noted that Mr. Scheibe did "relatively poor on
tests of reading and oral language as compared to his concrete and
abstract mathematic abilities and his nonverbal analytical
abilities." He had particular difficulty with phonemic, perception

-and decoding. In addition, he has a history of discrepancy between

verbal and mathematical scores on a standardized timed tests.

~ He provided certification of prior test accommodations by
the University of Texas-Houston Medical School of extended time.
These accommodations were noted to be in place in March of 2002.The
"double time" extension allowed for successful completion of this

exam.

Despite these reports, we reviewed a letter from the National Board
of Medical Examiners from March of 2003 denying his request for
accommodations. This letter suggests that, "Although relative
differences may exist in your scores, they are well within the
average range of functioning and do not rise to the level of a
substantial impairment. Indeed, our consultant points out that most
people do not have evenly developed abilities and the presence of
variability among scores does not in itself indicate a disability."

This note goes on to state the following: "While your documentation
Case: 3:05-cv-00180-bbc Document #: 22-1 Filed: 02/07/06 Page 24 of 32

MARSHFIELD CLINIC/SAINT JOSEPH'S HOSPITAL
COMBINED MEDICAL RECORD
MARSHFIELD, WISCONSIN 54449

MHN: 264213
Patient: Trenton James Scheibe
Clinic Office Note, Page 2 * COPY *

 

states you are a slow learner and had difficulty with timed exams,
you have not provided any original school records verifying
childhood learning problems and accommodations for classroom
instruction or on typical standardized achievement tests or other
standardized examinations. Additionally, you have not submitted a
personal statement describing your academic performance difficulties
and your documentation does not provide an objective description of
any current academic or functional problems that would rise to the
level of a disability and substantially limit your access to the
USMLE."

As part of this examination, we did review the "childhood"
standardized achievement tests of Mr. Scheibe. These examinations
were all done while a student at the Marshfield Public Schools in

Marshfield, Wisconsin.

LD - As a seventh grader, his performance on the Stanford

' Achievement Test shows reading comprehension at the 92nd percentile,
math concepts at the 92nd percentile, math computation 99th
percentile, math application 94th percentile, spelling 60th
percentile, language 90th percentile, social studies 89th
percentile, science 80th percentile. Total reading was at the 84th
percentile, while total math was at the 99th percentile. From our
perspective, it is interesting to note that spelling scores were
certainly a notable "weakness" falling "only" at the 60th
percentile. Additionally, there is a 15 percentile difference -
between "total reading" and "total math."

 

- In fact, we reviewed standardized achievement tests from
first, second, and third grades. At that time, based on estimates
of general intellectual functioning, a reasonable expectation would
be that abilities would be at or above the 90th percentile. In
first grade, reading was at the 72nd percentile, second grade 82nd
percentile, and third grade at the 66th percentile. Clearly, the
discrepancy between expected versus achieved levels of mastery
existed from primary grades, and continued to be seen throughout his

educational programming.

Review of the high school records also revealed that this was a

gentleman who had a remarkable work ethic. He remained involved in

eo many extracurricular activities. He was a productive high school

Norco student despite his difficulties with reading, and graduated sixth
in his class of 261.
 

 

Case: 3:05-cv-00180-bbc Document #: 22-1 Filed: 02/07/06 Page 25 of 32
MARSHFIELD CLINIC/SAINT JOSEPH'S HOSPITAL

COMBINED MEDICAL RECORD
MARSHFIELD, WISCONSIN 54449

MHN: 264213

Patient: Trenton James Scheibe
Clinic Office Note, Page 3 * COPY *

He matriculated to Marquette University where he completed an
undergraduate degree in Business Administration. He was then
admitted to the law school at Marquette where he completed that
program. He did not, however, successfully complete the bar exam
despite three attempts. He then desired a career change, and entered
School of Medicine at the University of Houston, Texas, in 1977.

At UT, he did well in basic science curriculum except for histology,
neuroscience and pharmacology where he earned marginal performance
grades. These were remediated to a passing level. He then entered
his clinical medicine rotation, and he earned a high pass in this
program. We reviewed notes from his clinical clerkships, and all
noted outstanding work ethic, described him as attentive, reliable,
competent, and well organized.

As a result of failing to pass the standardized board exam for the
Internal Medicine Clerkship, he was asked to repeat his third year of
clerkship in its entirety. He was the granted double testing time on
the final examination- per a note from Dr. Mercer dated 12/19/0li-and
with this accomodation successfully passed the examination.

The patient reports that throughout his educational career, he has
developed a number of compensatory strategies to accommodate his
self-reported "slow reading rate." For example, with pencil and
paper tasks he was able to read, underline and make notes in
margins, which allowed him to complete the examination. He is not
able to use these adaptive strategies, of course, now that the test
is computer-based. He notes significant eye strain when looking at
a computer for eight hours. He notes the vignettes have increased
in length with no corresponding increase in additional time to
complete the examination.

The patient also reports a family history of language-based learning
disabilities as well as ADHD. Per his report, his brother has been
identified as having an exceptional educational need.

NEUROPSYCHOLOGICAL EXAM: This is a pleasant gentleman who presented
on time. His speech is clear and linear. He is well-oriented. It
is felt that he was able to provide us with a very reliable and
valid neuropsychologic profile.

We did not readminister tests of general intellectual functioning.
The patient's history has a number of instances where his general
intellectual skills have been measured, and they have consistently
 

 

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Case: 3:05-cv-00180-bbc Document #: 22-1 Filed: 02/07/06 Page 26 of 32

MARSHFIELD CLINIC/SAINT JOSEPH'S HOSPITAL
- COMBINED MEDICAL RECORD
MARSHFIELD, WISCONSIN 54449

MHN: 264213
Patient: Trenton James Scheibe
Clinic Office Note, Page 4 ’ * COPY *

demonstrated overall abilities near the 90th percentile.
We did an examination of his reading skills on several measures.

On the Woodcock-Johnson Achievement Test-III, his scores were as
follows:

TEST PERCENTILE GRADE EQUIVALENT
Letter-Word Identification 63 >18.0
Reading Fluency 54 11.9
Math Fluency 80 >18.0
Spelling 84 >18.0
Writing Fluency 95 >18.0
Passage Comprehension 85 >18.0

This profile is remarkable for a measure of difficulties with
reading fluency ~ relative to his other domains. As can be seen,
reading fluency was "only" at the 54th percentile, which would
translate into a grade equivalent performance of a high school
junior. In sharp contrast, all other measures were at or above the
80th percentile, and consistent with estimates of general ,
intellectual functioning.

He was also given the WIAT-II to measure single word recognition,
reading comprehension and reading speed.

TEST STANDARD SCORE PERCENTILE
Word Reading , 111 717
Reading Comprehension 114 82
Reading Speed 2nd quartile

The results from the Woodcock-Johnson and WIAT are concordant with
those obtained from the Nelson-Denny Test administered at the
University of Texas. His reading rate, on that instrument, yields a
standard score of 88, which would place him below the 34th
percentile.

We also attempted to assess the eidetic versus the phonetic
components to the reading process utilizing the Boder Test of
Reading-Spelling Patterns. Unfortunately, we were not able to
establish enough words outside of his single word recognition skills
to provide a valid assessment.

IMPRESSIONS: This is a 35-year-old gentleman who has completed
Case: 3:05-cv-00180-bbc Document #: 22-1 Filed: 02/07/06 Page 27 of 32

MARSHFIELD CLINIC/SAINT JOSEPH'S HOSPITAL
COMBINED MEDICAL RECORD
MARSHFIELD, WISCONSIN 54449

MHN: 264213
Patient: Trenton James Scheibe
Clinic Office Note, Page 5 . * COPY *

 

medical school. He was self-referred to evaluate prior history of a
reading disorder. We conducted an extensive review of his academic
history and results of neuropsychologic evaluation conducted in
2001. Today's findings are consistent with previous findings that
he does meet full diagnostic criteria for a reading disorder (315.0)
in that his reading achievement, specifically speed, reflected by
individually administered tests, falls substantially below that
expected for his measured intelligence and age appropriate
education. This disorder did interfere with academic achievements;
in fact, he was accommodated by additional time on testing for the
last two years of medical school training. A careful review of his
achievement tests while in elementary school continued to show the
discrepancy between skills in reading as reflected by group
achievement tests and between skills and measures of general
intellectual functioning.

RECOMMENDATIONS: Results were reviewed with Mr. Scheibe. I
indicated to him that I felt, to a reasonable degree of
neuropsychological certainty, his reading disorder should be
accommodated under the Americans with Disabilities Act. It is
reasonable to conclude, based of all the test results and review of
his academic history, that his reading disorder has significantly
interfered with both his academic and professional achievement.

 

His reading disorder is a significant impairment and will likely have
a profound impact on his successful completion of time exams. This
is especially true for exams entailing significant amount of reading
like that found in the USMLE. Therefore, it is my professional
opinion that in light of the fact that the USMLE is given on
computer, and therefore does not allow for the use of adaptive
strategies he has developed over the course of his academic life

( e.g. underlining, notetaking, outlining), that double time to take
the test is a reasonable accomodation request as per the Americans
with Disabilities Act.

The patient asked for a copy of this report, and will submit it for
consideration to the National Board of Medical Examiners.

TOTAL TIME: Includes time reviewing the chart and histories,
neurobehavioral questionnaires, testing and scoring, exit interview,
dictation and colldteral contacts: 3 hours.

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DIAGNOSIS:
1. Reading disorder.
Case: 3:05-cv-00180-bbc Document #: 22-1 Filed: 02/07/06 Page 28 of 32

MARSHFIELD CLINIC/SAINT JOSEPH'S HOSPITAL
COMBINED MEDICAL RECORD
MARSHFIELD, WISCONSIN 54449

MHN: 264213
Patient: Trenton James Scheibe
Clinic Office Note, Page 6 * Y*

 

Fred W. Theye, Ph.D./rs
Department of Clinical Neuropsychology

cC: Mr. Trenton James Scheibe
1529 N Peach Ave
Marshfield, WI 54449

Dictated 8/23/2004

Created 8/25/2004

Electronically signed by Fred W Theye PHD on 09/17/2004.

 
Case: 3:05-cv-00180-bbc Document #: 22-1 Filed: 02/07/06 Page 29 of 32

 

October 19, 2004 —
National Board of Medical Examiners
3750 Market Street RECEIVED
Philadelphia, PA 19104 OcT 25 000
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RE: USMLE STEP 2 Clinical Knowledge — 2004 Dis. bili
Request for Accommodation @Dility Services

Dear National Board of Medical Examiners,

1 am wniting this letter in support of my request for accommodation on the United States

Medical Licensing Examination (USMLE) Step 2 Clinical Knowledge exam. Based on

the enclosed documentation and in accordance with the Americans with Disabilities Act,
1 believe my professionally diagnosed “reading disorder” supports an accommodation of
“double time” on the exam.

In addition to childhood test results, transcripts, and two independent sets of
professionally administered testing results, this letter is submitted as a personal testament
( of my disorder and its effects on my academic and professional achievement and
: advancement.

 

First and foremost, ] have always been aware that I was a very slow reader. I was never
“professionally” diagnosed until much later in life, but from an early age I easily
recognized that it took me longer to read passages in the classroom than other students.
In elementary school the teacher would have the class read silently to ourselves, and then
would ask, “Who needs more time?” I was undoubtedly one to always raise my hand for
more time. Consequently, because I am an individual who always strives to do my best, I
attempted to push myself to read faster, but I found that the faster I read, the less I
remembered. When called on in class to answer questions about a reading passage, I
would get many of the questions wrong. As a result, I tended to avoid answering
questions about reading passages while in class. Also, I tried to circumvent the problem
by working harder and reading ahead in workbooks at home so that I would be familiar
with the material when we would read it in the classroom.

When I started taking standardized tests in grade school at the end of the academic year, I
vividly remember not completing the tests. I especially had difficulty with parts of the
exam which entailed reading long passages and answering content related questions
about the passage, for example, deciding what an appropriate title of the passage would
be. Often I had to read passages several times. With my frustrations of not finishing
these exams, especially in light of comments by my classmates that they had no problems
finishing the exams, I quickly made adaptations to my reading and test taking skills to try
and improve my reading speed and comprehension in testing situations.

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Noy

Exhibit No. 9
Case: 3:05-cv-00180-bbc Document #: 22-1 Filed: 02/07/06 Page 30 of 32

I first started by using my finger or pencil to track sentences as I read. Then I
incorporated underlining, circling, note taking and outlining into my strategies. With
these adaptive strategies I could review the passage before answering a question. This
saved me the time of having to reread the entire paragraph word for word. Of course, as I
progressed in school, I learned about other test taking strategies from books and teachers
such as reading the first and last sentence of a paragraph first to get an idea of the
paragraph’s content, reading the question stem and answers to direct my attention to key
concepts, etc. When I was a freshman in high school I even attempted a speed reading
course at the local Technical College to help me with my reading speed and
comprehension. As my homework load increased and my spare time decreased due to
my involvement in many extracurricular activities, I was hoping the speed reading course
would help me to more efficiently use my time. However, the course only served to
frustrate me more due to my imability to actually increase my reading speed, and it made
me more aware and self conscious of my slow reading speed.

 

Through hard work and determination to succeed, I developed these strategies on my
own. No one ever knew about my reading disorder and for the most part, I kept it a
secret, aside from an occasional stray comment from myself that I did not have enough
‘time to finish a test or that I was not finished reading a passage or text when others were
simultaneously reading the same text. For the most part, the combination of my hard
work and my adaptive strategies worked to my benefit throughout grade school, middle
( school, high school and college and through my career right into medical school. I was
ote, able to compensate for my reading disorder, that is, as long as I had enough time and the
fio right resources to implement them.

- However, now I find myself in a situation were all of my adaptive skills and strategies to
overcome my reading disorder have been removed and other obstacles have been added
to complicate matters. First, the USMLE is now on computer, so my ability to underline,
circle, note take and outline is no longer possible. Second, the exam is.at least eight
hours long, and I find my eyes become very fatigued staring at the computer screen for
this length of tune. This fatigue compounds my problems because my reading speed
slows even more and my comprehension declines. Additionally, with the test’s approach
of using longer and longer clinical vignettes, it is generally not possible for me to read a
passage just once to answer a question. I almost always have to read every passage and
question twice, and even then, by not being able to underline or circle, my
comprehension is still limited by the time I attempt to answer the question. This, of
course, adds to the amount of time I need to answer each question, time which the
USMLE, as it is currently administered, does not allow for.

Throughout my education and work experience, I have generally been able to adapt my
strategies to compensate for my reading disorder to an extent that allowed me to continue
my success and to advance in my education and career. That is, however, until J
graduated from law school and was faced with the insurmountable task of passing the
Texas bar exam.
Case: 3:05-cv-00180-bbc Document #: 22-1 Filed: 02/07/06 Page 31 of 32

As with the USMLE, I believe my difficulties with the Texas bar exam are directly
correlated to my reading disorder. Like the USMLE, the Texas bar exam is a
standardized exam with questions presented in lengthy vignette format. Also, similar to
my success in medical school, yet failure with the USMLE, I was very well prepared for
the bar exam, yet was unable to pass the exam on three separate occasions. The
similarities with my success with law school courses as well as with medical school
courses in conjunction with my inability to pass either vignette style exam are obviously
directly correlated to my reading disorder.

 

I believe my educational and test taking history in conjunction with the professional
testing I have undertaken, clearly show that I suffer from a significant impairment when
confronted with standardized exams with severe time constraints and information
presented in a vignette format requiring significant amounts of reading. Though Iam
intelligent and well educated, my disorder is clearly exposed when confronted by the
USMLE, and therefore, is a major limitation in my professional advancement. Currently,
my disorder has prevented me from becoming licensed as an attorney, and has now
delayed my medical training by at least three years. Additionally, due to state

-Fequirements for licensure and limitations regarding the number of attempts an individual
can make on each step, I am now no longer eligible to practice medicine in several states.
And, without the appropriate accommodation, future unsuccessful attempts will add more
States to the list of places I am not eligible to practice medicine.

( Although not as evident early on in my academic history, my disorder became a very

foe evident problem in medical school as I reached my clinical rotation years. At the end of

ees each rotation, a Board of Medical Examiners produced standardized test was given.
These tests had two hour time constraints. My scores on the tests were consistently at the
bottom of the class. Yet, my clinical skills assessments, which included an assessment of
my medical knowledge base, where consistently near the top of the class. Thus, though I
performed poorly on these standardized tests, I generally met the minimum requirements
necessary to advance to the next level in medical school. That is, however, until my
Internal Medicine rotation.

During my three months of Internal Medicine, I performed very well and received high
marks. On the board exam, however, I scored below passing. Upon completing a
remedial month of Internal Medicine, I retook the two hour standardized exam and again
scored below passing. As a result of failing the exam a second time, I received a failing
grade in the course, and I had to repeat all three months of the clerkship. At that time, I
informed my Dean and Professors of my difficulty with successfully finishing the tests
due to my slow reading and lack of enough time to properly finish the exam. After
reviewing the big discrepancy in my test scores and clinical assessments, the Dean
suggested professional testing, and a “reading disorder” was professionally diagnosed for
the first time. As a result, the medical school granted me “double time” accommodation
to take the Internal Medicine exam, and I finished the exam and scored a passing mark.

( Without accommodation, the time constraints and individual question length on the
~ USMLE Step 2 is an impossible hurdle for me to overcome. In light of this exam format
Case: 3:05-cv-00180-bbc Document #: 22-1 Filed: 02/07/06 Page 32 of 32

4

and in conjunction with my reading disorder, I contend that I meet the ADA definition of
“significant impairment.” The current time allotments of the exam and media on which it
is administered are just simply too extreme an obstacle for me to overcome given my
reading disorder. All I am asking for is “equal” access to the exam. I am simply
requesting an opportunity to fairly prove I have the qualifications to move forward with
my training. The enclosed documentation supports my request. As a result, I request
accommodation of “double time” on the USMLE Step 2 Clinical Knowledge exam under
the Americans with Disabilities Act.

 

 

 
